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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

  IN RE:                                          §
                                                  §
  JOHN J. GORMAN, IV,                             §    Case No. 16-10740-TMD
                                                  §    Chapter 7
                DEBTOR.                           §


      DEBTOR’S AMENDMENTS TO SCHEDULES OF ASSETS AND LIABILITIES
        AND STATEMENT OF FINANCIAL AFFAIRS IN ACCORDANCE WITH
        LOCAL RULE OF BANKRUPTCY PROCEDURE 1019 (AS MODIFIED)

                                         BACKGROUND

           1.   John J. Gorman, IV (the “Debtor”) filed for Chapter 11 relief on June 27, 2016

  (the “Petition Date”).

           2.   On October 13, 2016, the Court entered an order appointing Richard Schmidt to

  serve as the Chapter 11 Trustee (the “Chapter 11 Trustee”). (Dkt. No. 110).

           3.   On March 31, 2019, the Debtor’s case was converted to Chapter 7.

           4.   On April 1, 2019, John Patrick Lowe was appointed to serve as the Chapter 7

  Trustee (the “Chapter 7 Trustee”).

           5.   On June 28, 2019, in accordance with Local Rule 1019, the Debtor filed Debtor’s

  Amendments to Schedules of Assets and Liabilities and Statement of Financial Affairs in

  Accordance with Local Rule of Bankruptcy Procedure 1019 (“Debtor’s Amendments”) (Dkt.

  No. 454). Based on questions raised by the Chapter 7 Trustee after the filing and in anticipation

  of the §341 meeting currently scheduled for July 29, 2019, the Debtor files this modification to




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  the Debtor’s Amendments.1 The Debtor is prepared to address this modification at his §341

  meeting.

                                                  SCHEDULES

          6.       On August 15, 2016, the Debtor filed his Amended Schedule of Assets and

  Liabilities (collectively, as amended and supplemented from time to time, the “Schedules”)

  (Dkt. No. 28) and the Amended Statement of Financial Affairs (Dkt. No. 29) (collectively, the

  “SOFA,” and, together with the Schedules, the “Schedules and Statements”) in the United

  States Bankruptcy Court for the Western District of Texas, Austin (the “Bankruptcy Court”)

  in accordance with section 521 of title 11 of the United States Code (the “Bankruptcy Code”),

  and Rule 1007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

          7.       On January 26, 2017, the Chapter 11 Trustee filed an objection to the Debtor’s

  exemptions. (Dkt. No. 147).

          8.       On June 19, 2017, the Debtor filed an Amended Schedule C. (Dkt. No. 171).

          9.       By order dated October 23, 2017, the Court approved a mediated settlement

  between the Chapter 11 Trustee and the Debtor pursuant to Bankruptcy Rule 9019, whereby the

  Chapter 11 Trustee withdrew his prior objection to certain of the Debtor’s exemptions (the

  “Settlement Order”). (Dkt. No. 227).

          10.      On February 11, 2019, the Debtor filed a Supplement to his Schedule C to assert

  an exemption with regard to certain litigation claims. (Dkt. No. 345).




  1
   On July 25, 2019, the Chapter 7 Trustee requested that the Debtor file wholly new schedules A, B, and C utilizing
  Official Forms to reflect the modifications noted herein. However, such an amendment is: (i) cost-prohibitive, (ii)
  beyond the scope of the Bankruptcy Rules and Local Rules, and (iii) additionally problematic given the Debtor is
  asked to file a post-petition amendment of schedules three years into a case in which he was divested of control,
  which schedules purport to provide information “as of” the Petition Date. Thus, the Debtor has filed this
  modification in good faith in order to comport with Local Rule 1019.

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         11.     The Chapter 11 Trustee asserted that the supplement to the Debtor’s Schedule C

  has reopened the deadline for parties in interest to object to all of the Debtor’s claimed

  exemptions. See (Dkt. No. 359). The Debtor disputes this assertion.

         12.     On March 1, 2019, the Court entered an order extending the time period for all

  parties in interest to object to the Debtor’s exemptions without hearing. (Dkt. No. 360).

         13.     The Debtor asserts that with respect to the Debtor’s claimed exemptions that were

  allowed pursuant to the Settlement Order, such Order is res judicata with regard to such

  exemptions.

                                   GENERAL RESERVATIONS

         14.     As set forth above, during the course of the Chapter 11 bankruptcy, the

  Chapter 11 Trustee controlled the financial affairs of the estate. Accordingly, the Debtor would

  direct parties in interest to the Chapter 11 Trustee’s report in accordance with Federal Rule of

  Bankruptcy Procedure 1019 as to post-petition transactions. Nevertheless, in accordance with

  Local Rule 1019, the Debtor has made good faith efforts to ensure that the Schedules and

  Statements are accurate and complete to the best of his knowledge based upon the limited

  information that is available to him at the time of the preparation hereof. Likewise, counsel was

  unable to assist the Debtor substantively with any investigation of the Debtor’s books and

  records in preparation of this Amendment given that the Debtor no longer possesses the original

  books and records from which the Schedules and Statements were originally prepared.

  Subsequent information or discovery may result in changes to the Schedules and Statements, and

  inadvertent errors or omissions may exist. Likewise, given the establishment of a bar date in

  these cases, the claims register may reflect the most recent claims data.




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         15.        The Schedules and Statements do not purport to represent financial statements

  prepared in accordance with Generally Accepted Accounting Principles nor are they intended

  to be fully reconcilable to audited financial statements. Because the Schedules and Statements

  contain unaudited information, which remains subject to further review, verification, and

  potential adjustment, there can be no assurance that the Schedules and Statements are

  complete. The Debtor reserves all rights to dispute or otherwise assert offsets or defenses to any

  claim reflected in the Schedules and Statements as to amount, liability, or classification.

         16.        The Debtor reserves all rights relating to the legal ownership of assets and

  liabilities, and nothing in the Schedules or Statements shall constitute a waiver or relinquishment

  of such rights.

         17.        Unless otherwise noted, the Schedules and Statements reflect the carrying value

  of the assets and liabilities as recorded on the Debtor’s books as of the Petition Date. Net book

  values may vary, sometimes materially, from market values. The Debtor has not endeavored to

  amend these Schedules and Statements to reflect market values.

         18.        The Bankruptcy Court authorized the Chapter 11 Trustee to pay certain c laims

  from time to time. Accordingly, certain outstanding liabilities may have been reduced by post-

  petition payments made on account of prepetition liabilities. Where the Schedules list creditors

  and set forth the Debtor’s scheduled amount of such claims, such scheduled amounts reflect

  amounts owed as of the Petition Date. The Debtor reserves all rights to file claims objections, as

  is necessary and appropriate to avoid overpayment or duplicate payments for liabilities.

         19.        Claim amounts that could not readily be quantified by the Debtor are scheduled as

  “unknown” or “undetermined.” The description of an amount as “unknown,” or “undetermined”

  is not intended to reflect upon the materiality of such amount.

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                                        AMENDMENTS

  1.    Classifications. Listing a claim (a) on Schedule D as “secured,” (b) on Schedule E
        as “priority,” or (c) on Schedule F as “unsecured,” or a contract on Schedule G as
        “executory” or “unexpired,” does not in each case constitute an admission by the Debtor
        of the legal rights of the claimant, or a waiver of the Debtor’s right to file an objection
        seeking to recharacterize or reclassify such claim or contract.

  2.    Schedule A/B - Real and Personal Property.

        a)     Schedule A/B. Part 1. All real property owned by the Debtor was sold pursuant
               to Court order prior hereto.

        b)     Schedule A/B. Part 2. The Ford F250 listed on the Debtor’s Schedules at 3.1.
               was also sold during the bankruptcy.

        c)     Schedule A/B. Part 3. All of the property listed in Section 6. has been sold or
               has been otherwise disposed of by the Debtor (all of which was exempt).

        d)     Schedule A/B. Part 3. 17/18. Bank/stock account balances are true and correct to
               the best of the Debtor’s knowledge as of the Petition Date.

        e)     Schedule A/B. Part 4. 33. The Debtor’s claims against third parties is
               supplemented to include the following claims in addition to those listed on
               Schedule A/B (Dkt. No. 28):

                      All of the Debtor’s rights under the Trenwick-Tejas Voting Agreement
                       and Irrevocable Proxy dated January 31, 2005, and the Trenwick
                       Stepdown Agreement dated May 3, 2006, including those rights originally
                       held in the name of Tejas Securities Group, Inc. 401(K) Plan and Trust
                       FBO John J. Gorman.

                      Commercial tort claims and causes of action held by the Debtor or in the
                       name of the Tejas Securities Group, Inc. 401(K) Plan and Trust FBO
                       John J. Gorman against, inter alia, National Union Fire Insurance of
                       Pittsburgh PA, Tejas Securities Group, Inc., Gary Salamone,
                       Michael Dura, Robert Halder, A. Peter Monaco, James J. Pallotta,
                       Michael Navarre, Darrell Windham, James Fellus, Greenberg Traurig,
                       LLP, Norton Rose, Fulbright Jaworski, Focus Strategies LLC, Lovell
                       Minnick Partners, Raptor Capital Management LP and Apex Clearing
                       Corporation, and any others acting in concert with same for acts and
                       omissions leading to loss of the Debtor’s exemptions with respect to those
                       certain IRAs and Roth IRAs made part of the Settlement Order, which
                       held, inter alia, securities in Trenwick America LLC, Odeon Capital
                       Group LLC, Westech Capital Corporation and Ecoturismo La Escondida
                       Mgt, LLC, RBarC LLC interests and easements and Epoia Interactive

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                     Studios LLC. The Debtor also asserts that the proceeds of any insurance
                     policy related to the foregoing constitutes exempt property, including but
                     not limited to, that certain Directors and Officers Policy issued by Federal
                     Insurance Company (Policy No. 8224-5497).

                    Causes of actions against Tejas Securities Group, Inc., Robert Halder,
                     Gary Salamone and Apex Clearing Corporation (Arb. No. 14-00936) with
                     respect to FINRA violations, including the SPIC insurance related thereto.

  3.    Schedule C – Exempt Property.

        a)     Schedule C. Part 1. The real property (5404 Maryanna) and the vehicle (2014
               Ford) listed in Item 2. have been sold. All of the furniture and appliances
               (referring therein to Line A/B.6.1) has been disposed of.

        b)     Pursuant to the Settlement Order, the Debtor waived his exemption as to the
               following IRAs and the securities in such IRAs (The following references are
               made to Dkt. No. 171):

                    Roth IRA: Fidelity                                              $43.83
                     (xxxxx5614)

                    Traditional IRA: Odeon Capital Group LLC                    $22,769.80
                     (xxx-xx0107)

                    Traditional IRA: Fidelity                                       $42.86
                     (xxxxx5607)

                    Roth IRA: Trenwick America, LLC                               Unknown
                     (xxx-x0318)

                     Roth IRA: JP Morgan Chase Bank, N.A.                            $39.99
                     (xxxxx0009)

                    Roth IRA:                                                   $60,000.00
                     Ecoturismo La Escondida
                     Mgt, LLC,

                    Roth IRA: 12 shares in Westech                                Unknown
                     Capital Corporation Series A Preferred

                    Roth IRA: Apex Clearing Corporation                           Unknown




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        c)     Pursuant to the Supplement to Schedule C (Dkt. No. 345) and as set forth below,
               the Debtor claims an exemption as to the following:

                      All of the Debtor’s rights under the Trenwick-Tejas Voting Agreement
                       and Irrevocable Proxy dated January 31, 2005, and the Trenwick
                       Stepdown Agreement dated May 3, 2006, including those rights originally
                       held in the name of Tejas Securities Group, Inc. 401(K) Plan and Trust
                       FBO John J. Gorman. (Tex. Prop. Code § 42.0021)

                      Commercial tort claims and causes of action held by the Debtor or in the
                       name of the Tejas Securities Group, Inc. 401(K) Plan and Trust FBO
                       John J. Gorman against, inter alia, National Union Fire Insurance of
                       Pittsburgh PA, Tejas Securities Group, Inc., Gary Salamone,
                       Michael Dura, Robert Halder, A. Peter Monaco, James J. Pallotta,
                       Michael Navarre, Darrell Windham, James Fellus, Greenberg Traurig,
                       LLP, Norton Rose, Fulbright Jaworski, Focus Strategies LLC, Lovell
                       Minnick Partners, Raptor Capital Management LP and Apex Clearing
                       Corporation, and any others acting in concert with same for acts and
                       omissions leading to loss of the Debtor’s exemptions with respect to those
                       certain IRAs and Roth IRAs made part of the Settlement Order, which
                       held, inter alia, securities in Trenwick America LLC, Odeon Capital
                       Group LLC, Westech Capital Corporation and Ecoturismo La Escondida
                       Mgt, LLC, RBarC LLC interests and easements and Epoia Interactive
                       Studios LLC. The Debtor also asserts that the proceeds of any insurance
                       policy related to the foregoing constitutes exempt property, including but
                       not limited to, that certain Directors and Officers Policy issued by Federal
                       Insurance Company (Policy No. 8224-5497).                (Tex. Prop. Code
                       § 42.0021)

                      The Debtor asserts that any cause of actions held against Tejas Securities
                       Group, Inc., Robert Halder, Gary Salamone and Apex Clearing
                       Corporation (Arb. No. 14-00936) with respect to FINRA violations,
                       including the SPIC insurance related thereto, also constitute exempt
                       property. (Tex. Prop. Code § 42.0021)

  4.    Schedule D - Creditors Holding Secured Claims. Except as otherwise agreed
        pursuant to a stipulation or order entered by the Bankruptcy Court, the Debtor
        reserves his rights to dispute or challenge the validity, perfection, or immunity from
        avoidance of any lien purported to be granted or perfected in any specific asset of a
        secured creditor listed on Schedule D of t h e Debtor. Moreover, although the Debtor
        has scheduled claims of various creditors as secured claims, the Debtor reserves all of his
        rights to dispute or challenge the secured nature of any such creditor’s claim or the
        characterization of the structure of any such transaction or any document or instrument
        related to such creditor’s claim. The descriptions provided in Schedule D are solely
        intended to be a summary and not an admission of liability.


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        Moreover, the Debtor has not included on Schedule D parties that may believe their claims
        are secured through setoff rights or inchoate statutory lien rights.

        The following Schedule D claims have either been satisfied or are no longer secured due
        to the sale of underlying collateral:

        a)     Centennial Bank – Item 2.2                                     ($1,657,141.14)

        b)     Ford Motor Credit – Item 2.3                                      ($29,676.42)

        c)     Green Park Homeowners Association – Item 2.5                         ($350.00)

        d)     JPMorgan Chase – Item 2.6                                      ($1,654,236.60)

        e)     JPMorgan Chase – Item 2.7                                        ($859,954.96)

        f)     Lake Point Homeowners Association – Item 2.8                       (Unknown)

        g)     Seterus – Item 2.9                                                ($68,865.22)

  5.    Schedule E/F – Creditors Holding Unsecured Claims.

        a)     Schedule E/F. Item 4. 39. The automobile associated with this debt belonged to
               the Debtor’s former spouse. This debt should be “Contingent” and “Disputed.”

                   GENERAL DISCLOSURES APPLICABLE TO SOFA

  1.    General Reservations. Given that the SOFA requests information “as of” the Petition
        Date, the Debtor has not endeavored to update his responses to the current date, except as
        set forth below.

  2.    SOFA. Part 1. Question 1. The Debtor and his wife are now divorced, but a final
        property settlement has not yet been entered.

  3.    SOFA. Part 4. Question 9. The Debtor reserves all of his rights and defenses with
        respect to any and all listed lawsuits and administrative proceedings. The listing of any
        such suits and proceedings shall not constitute an admission by the Debtor of any
        liabilities or that the actions or proceedings were correctly filed against the Debtor or
        any affiliates of the Debtor. The Debtor also reserves his rights to assert that a Debtor
        is not an appropriate party to such actions or proceedings. The Debtor has not
        endeavored to amend the SOFA to update such litigation after the Petition Date, given
        that most litigation was stayed or controlled by the Chapter 11 Trustee.




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                                 CERTIFICATE OF SERVICE

          The undersigned hereby certifies that, on July 26, 2019, a true and correct copy of the
  foregoing document was served via ECF-Notice on all parties requesting such notice, via ECF-
  Notice and/or E-mail on the parties listed below and via ECF-Notice and/or U.S. Regular Mail
  on the parties shown on the attached Service List.

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                                                  /s/ Michelle V. Larson
                                                 Michelle V. Larson




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